

Matter of Melody S. (Maryeling S. -P.) (2021 NY Slip Op 02119)





Matter of Melody S. (Maryeling S. -P.)


2021 NY Slip Op 02119


Decided on April 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 06, 2021

Before: Renwick, J.P., Kennedy, Scarpulla, Shulman, JJ. 


Docket No. NN-07839/18 Appeal No. 13828 Case No. 2019-2982 

[*1]In the Matter of Melody S., A Child Under the Age of Eighteen Years, etc., Maryeling S. -P., Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent.


The Law Offices of Salihah R. Denman, PLLC, New York (Salihah R. Denman of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York&nbsp;(Rebecca L. Visgaitis of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Polixene Petrakopoulos of counsel), attorney the child.



Order of fact-finding, Family Court, New York County (Clark V. Richardson, J.), entered on or about October 11, 2018, which, after a hearing, found that respondent mother neglected the subject child, unanimously affirmed, without costs.
A preponderance of the evidence established that respondent's untreated mental illness and alcohol misuse placed the subject infant child at substantial risk of harm and warranted a finding of neglect (see Matter of Lakiyah M. [Shacora M.], 136 AD3d 424,425 [1st Dept 2016]; Matter of Liarah H. [Dora S.], 111 AD3d 514, 515 [1st Dept 2013]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 6, 2021








